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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

                                                              :
BALCHEM CORPORATION and                                       :
ALBION LABORATORIES, INC.                                     :
                                                              :
                 Plaintiffs,                                  :
                                                              :
          v.                                                  : CIVIL ACTION NO. 7:18-cv-02677-KMK
                                                              :
DANIEL TODD EDWARDS and                                       :
MIL AGRO, INC.,                                               :
                                                              :
                 Defendants.



   LIMITED OPPOSITION TO NOTICES OF WITHDRAWAL OF COUNSEL OF C.J.
                    VEVERKA AND ALEXIS JUERGENS

          Plaintiffs Balchem Corporation and Albion Laboratories, Inc. request the Court hold any

ruling on the November 13, 2019 Notices of Withdrawal filed by C.J. Veverka (ECF No. 163)

and Alexis Juergens (ECF No. 164) pending the resolution of a conflict of interest. 1 On

November 11, 2019, having not received dates for depositions of Defendants’ experts as of

November 8, 2019 as promised, Plaintiffs’ counsel followed up and asked Defendants’ counsel

to confirm those dates. Defendants’ counsel responded that Attorney Larry Laycock had “joined

another firm last week.” Upon further investigation, Plaintiffs determined that Mr. Laycock’s

new firm was the Salt Lake City law firm Durham Jones & Pinegar, P.C. (“DJP”).

          Plaintiffs were immediately concerned by Mr. Laycock’s continued representation of

Defendants given his association with the Durham Jones & Pinegar law firm because that law




         Plaintiffs anticipate Attorney Michael Manookin will also be seeking to withdraw from representing
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Defendants in this case.



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firm (1) presently represents a central trial witness for Plaintiffs, Stephen Ashmead 2 and (2)

previously represented Albion Laboratories in its sale to Balchem Corporation, including in

connection with one of the contracts with Defendant Todd Edwards at issue in this case.

Plaintiffs requested Mr. Laycock withdraw as counsel for Defendants as a result of Mr.

Laycock’s conflict of interest.

          Plaintiffs are hopeful that Mr. Laycock will withdraw as counsel for Defendants without

the need for the Court’s involvement; Plaintiffs therefore are not yet filing motion papers or

seeking the Court’s intervention with respect to Mr. Laycock’s representation. However,

Plaintiffs do not want the issue of Defendants’ representation to delay resolution of this case. As

a result, until such a time that representation of Defendants can be resolved, Plaintiffs request

that the Court hold any action on the pending Notices of Withdrawal filed by Defendants’

counsel of record at the Maschoff Brennan law firm, including Mr. Veverka, Mr. Manookin, and

Ms. Juergens. Doing so will ensure that Defendants remain represented by counsel familiar with

the case without interruption.




          Mr. Ashmead is one of two Plaintiff witnesses recently granted access to protected material under the
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revised Protective Order to allow Plaintiffs to prepare for trial.


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Dated: November 14, 2019             BALCHEM CORPORATION and
                                     ALBION LABORATORIES, INC.
                                     By their attorneys,


                                     By: /s/ Gregory S. Bombard
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                                 CERTIFICATE OF SERVICE

          I, Gregory S. Bombard, hereby certify that on November 14, 2019, a copy of foregoing

was filed electronically through the ECF system and will be sent electronically to the following

registered participants as identified on the Notice of Electronic Filing (NEF):

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Dated: November 14, 2019                      By: /s/ Gregory S. Bombard____
                                                 Gregory S. Bombard




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